Case 1:23-mi-99999-UNA Document 2907-5 Filed 09/08/23 Page 1 of 8
CHAPTER: 51.1.1 Page 1 of 8

NEW ORLEANS POLICE DEPARTMENT
OPERATIONS MANUAL

CHAPTER: 51.1.1

TITLE: USE OF FACIAL RECOGNITION FOR
CRIMINAL INVESTIGATIONS

EFFECTIVE: 10/02/2022
REVISED: NEW POLICY

PURPOSE

The purpose of this Chapter is to provide department members with guidelines for requesting
access to facial recognition software for use in criminal investigations.

POLICY STATEMENT

1. Information gathering is a fundamental and essential element in the investigative duties
of any law enforcement agency.

2. Facial recognition technology must be used in a manner consistent with the
requirements and protection of the Constitution of the United States, the Louisiana State
Constitution, and applicable statutory authorities. The facial recognition process does not
by itself establish a basis for a stop, probable cause to arrest, or to obtain an arrest or
search warrant. However, it may generate investigative leads through a combination of

automated biometric comparisons and human analysis.

3. Facial recognition can be used to prevent crime, pursue and apprehend offenders, and
obtain evidence necessary for the conviction or exoneration of suspects involved in a
crime of violence or in cases of missing persons to identify or locate the missing person.
The individual results of the use of this technology alone are insufficient to
constitute probable cause but may be an element of reasonable suspicion or probable
cause when viewed with other elements of the investigation to obtain an arrest or search

warrant.

4, The safeguards and protocols built into this policy for the use of facial recognition
technology mitigate the risk of biased law enforcement. This NOPD facial recognition
policy integrates human investigators in all phases. All possible facial recognition
matches undergo a peer review by other facial recognition investigators. Further, the
possible match report includes the submitted image, and a notification stating that the

determination of a possible match candidate alone does not constitute probable

cause to effect an arrest or obtain an arrest or search warrant, and that further
investigation is needed to establish probable cause.

5. The approval, screening and use of any facial recognition function shall be assigned to
specific members within the Investigation Support Division — Intelligence Unit of ISB by

PLAINTIFF’S
EXHIBIT

Case 1:23-mi-99999-UNA Document 2907-5 Filed 09/08/23 Page 2 of 8
CHAPTER: 51.1.1 Page 2 of 8

ihe Captain of the Investigation Support Division. All members of the New Orleans
Police Department are responsible for compliance with this Chapter.

6. All requests for use of or access to facial recognition software shall be made through the
Investigation Support Division — Intelligence Unit of ISB. All requests shall be reviewed
by the requesting investigator's supervisor and verified by the Intelligence Unit for
appropriateness and conformance to the requirements of this Chapter and Chapter 51.1
— Criminal Intelligence. All requests for use of facial recognition (Form #357) shail be
directed toward specific individuals where there is reasonable suspicion that said
individuals may be planning, have engaged in, or are engaging in a crime of violence.

7. Use of facial recognition will be requested and authorized with due respect for the rights
of those involved and disseminated only to those agencies or members authorized by
law and only as appropriate for legitimate law enforcement purposes in accordance with
the Constitution, Federal, State, and Municipal law and the procedures established in
this Chapter. It is especially important that facial recognition not be used to suppress
First Amendment rights, violate privacy, or otherwise adversely impact an individual's

civil rights and civil liberties.

8. Information obtained using facial recognition that implicates or potentially implicates
complicity of any public official in criminal activity or corruption shall be immediately
reported to the Superintendent of Police.

9. The NOPD shall not use facial recognition technology to monitor and identify people in
public gatherings or political rallies, except as provided in this chapter.

10. NOPD shall not use facial recognition technology as a surveillance tool.

11. NOPD Investigators shall not use facial recognition technology to authenticate an

already identified subject or where identifiable information has been provided.

42. Facial recognition shall not be used for the investigation of a violation or attempted
violation of any law criminalizing (1) abortion or the provision thereof by a licensed
physician, and (2) any consensual sexual act between persons of the age of majority,
including without limitation any law purporting to criminalize sexual contact between

same-sex partners.

13. Facial recognition shall not be used for any internal administrative investigation

14. The misuse of facial recognition technology will subject members to administrative and
potentially criminal penalties.

DEFINITIONS

Crime of Violence— a felony involving the infliction or threatened infliction of serious bodily
injury or death. (see RS 14:2(B)

Facial Recognition — is an automated or semi-automated system or process that displays
the closest matches of a photograph, sketch or image uploaded to an image database and assists
in identifying an individual, capturing information about an individual based on the physical
characteristics of an individual's face. Used in combination with human analysis and additional
investigation, facial recognition technology can serve as a valuable tool in solving crimes and

increasing public safety.

Law Enforcement Purpose - the investigation, detection, analysis or enforcement of a crime or
Case 1:23-mi-99999-UNA Document 2907-5 Filed 09/08/23 Page 3 of 8
CHAPTER: 51.1.1 Page 30f8

a violation of law; operations associated with an AMBER, SILVER, BLUE or YELLOW alert;
searches for missing persons, endangered persons or wanted persons; suspicious activity
possibly related to terrorism or other public safety issue.

Reasonable Suspicion - specific, objective, articulable facts, within the totality of the
circumstances, that, taken together with rational inferences, create a well-founded suspicion
that there is a substantial possibility that a subject has engaged, is engaging, or is about to

engage in criminal conduct.

Automated decision systems (also known as "ADS") - include any software, system, or
process that aims to automate, aid, or replace human decision making. Automated decision
systems can include both tools that analyze datasets to generate scores, predictions,
classifications, or some recommended actions(s) that are used by agencies to make decisions
that impact human welfare and the set of processes involved in implementing those tools.

Surveillance - the act of observing or analyzing the movements, behavior, or actions
of identifiable individuals.

Fusion Centers - are state-owned and operated centers that serve as focal points in states and
major urban areas for the receipt, analysis, gathering and sharing of threat-related information
between State, Local, Tribal and Territorial (SLTT), federal and private sector partners.

REQUESTING USE OF FACIAL RECOGNITION SYSTEMS

15. Members who have an image relating to an individual they wish to identify in relation to a
law enforcement purpose within the meaning of this Chapter, shall utilize Form 357 —
Facial Recognition Request Form to document the request.

16. All requests shall be reviewed for appropriateness and approved by the requestor’s
immediate supervisor prior to sending to Investigation Support Division — Intelligence

Unit of ISB for processing.

17. The use of facial recognition technology must be approved on a case-by-case basis by
an NOPD supervisor. The NOPD Form 357, or its’ electronic equivalent, will serve as a
sworn affidavit certifying (a) the reason for the request and the enumerated crime
justifying the use of facial recognition technology and (b) that all other reasonable means
of identifying the individual have been exhausted, absent exigent circumstances.

18. Access to facial recognition technology is limited to NOPD facial recognition
investigators. Facial recognition investigators are provided with direct access to facial
recognition technology only after completing mandatory training related to the general
use of the technology and image comparison principles, including the requirements of 28
CFR Part 23, Privacy, Civil Rights, and Civil Liberties Training.

19. The source of the image and underlying reasons for the requested use of facial
recognition systems as an investigative lead shall be documented in an investigative
report. The item number for that report shall be reflected in the request form. A copy of
the form shall be included as an attachment to the report.

20. NOPD prohibits the use of facial recognition technology to examine body-worn camera
video to identify people who may have open warrants. However, if an officer, whose
body-worn camera is activated, witnesses a crime but is unable to apprehend the
suspect, a still image of the suspect may be extracted from body-worn camera video and

submitted for facial recognition analysis.
21.

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Case 1:23-mi-99999-UNA Document 2907-5 Filed 09/08/23 Page 4 of 8

CHAPTER: 51.1.1 Page 4 of 8

The results of the request shall also be documented in the same investigative report or a
supplemental report as the original request item number.

No requests for the use of Facial Recognition Technology or access to information from
a Fusion Center or any outside agency shall be made by any member directly to another
jurisdiction, the State, or any federal agency without prior approval of the supervisor of
the NOPD intelligence Unit. All requests shall be reported to and tracked through NOPD
— Investigation Support Division — Intelligence Unit of ISB and the Professional

Standards Section.

RESPONSIBILITY FOR VETTING REQUESTS FOR FACIAL RECOGNITION SEARCHES

23.

The Investigations & Support Bureau's (ISB) Investigation Support Division — Intelligence
Unit of ISB has primary responsibility for:
(a) Receiving requests from NOPD investigative units for the use of facial
recognition for a law enforcement purpose.
(b) Ensuring the submitted requests have been reviewed by the requestor’s
supervisor for appropriateness and compliance with this Chapter.
(c) Processing the requests, if approved, through the facial recognition systems and
databases to which NOPD has access by law or MOU.
(d) Reviewing any responses received prior to release to the original requestor.
(e) Forwarding the response to the original requestor when appropriate and within
the guidelines of this Chapter.
(f) Maintaining a record of all requests and the responses.

INVESTIGATIVE STANDARDS

24.

The use of facial recognition for investigative purposes is a balance between
information-gathering requirements for law enforcement and possible legal and privacy
rights of individuals. To promote an equitable balance, members of this department shall
adhere to the following:

(a) Information gathering by use of facial recognition shall be premised on
circumstances that provide a reasonable suspicion that specific individuals may
be planning, have engaged, or are engaging in a specific crime of violence, sex
crime, crime against a juvenile, or for a law enforcement purpose as defined in
this Chapter, as governed by New Orleans Municipal Code Section 147-2. This

can include:

1.
2.
3

5.

Identifying a crime victim or witness,

Identifying a deceased person,
Identifying an incapacitated person or one unable to identify themselves

when exigent circumstances are present,
4.

Identifying an individual under arrest who does not possess a verifiable
identification, is not forthcoming with identification or who appears to be
using another’s identity, identification, or false identification, and

To mitigate an imminent threat to health or public safety (e.g., to thwart an

active terrorism plot, etc.)

(b) Investigative techniques employed shall be lawful and as minimally intrusive as
necessary to gather enough information to prevent the criminal act and/or to
identify and prosecute violators.

(c) The Investigation Support Division — Intelligence Unit of ISB shall take
reasonable steps to ensure that information regarding the use and access to
facial recognition systems is relevant to an active, current, or on-going
investigation and the product of dependable and trustworthy sources of
information. A record shall be kept of the requests for use of facial recognition

and the source of all information received.
Case 1:23-mi-99999-UNA Document 2907-5 Filed 09/08/23 Page 5 of 8
CHAPTER: 51.1.1 Page 5 of 8

(d) Facial recognition shall not be used for the investigation of minor offenses,
except as part of an investigation of a serious criminal offense.
(e) Information gathered and maintained by the New Orleans Police Department for

law enforcement purposes may be disseminated only to those agencies or

members authorized by law and only as appropriate for law enforcement
purposes in accordance with the law and procedures established in this Chapter

and Chapter 51.1 — Criminal Intelligence.
(f) A record shall be kept by the Investigation Support Division — Intelligence Unit of
ISB regarding the dissemination of all such information to persons within the

department or other law enforcement agencies.
COMPILING INFORMATION FROM FACIAL RECOGNITION SYSTEMS

25. information gathering using facial recognition systems, as well as electronic,
photographic, and related images shall be performed in a legally accepted manner and

in accordance with procedures established by this department.

26. All information requests designated for the Investigation Support Division — Intelligence
Unit of ISB shall be submitted, reviewed, and approved by the requesting officer's

immediate supervisor prior to submission.

27. Members shall retain official documentation relating to facial recognition only for

purposes of their investigation and as documented in a police report or official case
file. Members shall not maintain documentation relating to facial recognition for personal

reference or use.

ANALYSIS OF FACIAL RECOGNITION INFORMATION SUBMISSIONS

28. The Investigation Support Division — Intelligence Unit of ISB shall establish and maintain
an internal process to ensure that information requested and gathered is reviewed and
analyzed to derive its appropriateness and value in an investigation.

29. The review and analysis process should be accomplished by trained law enforcement
personnel experienced in facial recognition procedures and criminal intelligence

processes.

30. Images submitted and approved for comparison to a law enforcement repository of
individuals that have been charged with a crime where a criminal court has jurisdiction
that generate possible match candidates are manually reviewed by trained members of
the ISD — Intelligence Unit or trained members of a U.S. Department of Homeland
Security Designated Fusion Center to determine the differences between the submitted

image and the possible matches.

31. If a possible match candidate is identified, the facial recognition investigator must then
manually review and analyze each result. This process, known as facial identification,
consists of visual comparison of the facial characteristics of each candidate against the
submitted image. Comparisons are made with regard to various facial features such as
the eyes, ears, nose, mouth, chin, lips, eyebrows, hair/hairline, scars, marks, and

tattoos.

32. A possible match candidate is submitted for peer review by other facial recognition
investigators. A supervisor of the facial recognition investigator performs a final review of
a possible match candidate and provides final approval, if appropriate.

33. If there is a difference of opinion with the findings, the facial recognition investigators’
Case 1:23-mi-99999-UNA Document 2907-5 Filed 09/08/23 Page 6 of 8
CHAPTER: 51.1.1 Page 6 of 8

supervisor will direct personnel to continue investigation for a possible match candidate.
A report of negative results will be provided to the requesting investigator if a possible
match candidate is not identified or approved by the supervisor.

34. If a possible match candidate is approved, the facial recognition investigator will prepare
a possible match report and attach it to the requesting investigator's request form. The
possible match report includes the submission image, and a notification stating that
the determination of a possible match candidate alone does not constitute
probable cause to effect an arrest or obtain an arrest or search warrant, and that
further investigation is needed to establish probable cause.

RECEIPT / EVALUATION OF INFORMATION

35. The following steps shall be taken to ensure the quality and reliability of facial

recognition system information:
(a) Information shall be evaluated with respect to reliability of the source and validity

of the content. While evaluation may not be precise, this assessment must be
made to the degree possible to guide others in using the information.

(b) A record shall be kept of the source of all information where it is known.

(c) Reports and other investigative material and information received by this
department shall remain the property of the originating agency but may be
retained by the New Orleans Police Department unless an MOU or CEA between
NOPD and the source agency states otherwise.

(d) Such reports and other investigative material and information shall be maintained
in confidence, and no access shall be given to another entity except with the
consent of the originating agency.

(e) Information having relevance to active cases or that requires immediate attention
shall be forwarded to the responsible investigator or investigative unit supervisor

as soon as possible.

36. Within 30 days of the request, investigators requesting the use of the technology must
provide information in writing (by email notification or 105) to the Investigative Services
Division and the Professional Standards Section a brief description of how the
technology was used and whether the use of the technology successfully assisted with

their investigation (i.e., led to an arrest or exoneration).

37. The Professional Standards Section Bureau shall be responsible for ensuring the
following data is collected:

(a) The total number of requests for the use of facial recognition technology.

(b) For each request:
i. the requesting officer's name and badge number;
ii. the name of the NOPD supervisor approving the request and the date on
which the request was granted;
iii. the enumerated crime(s) justifying the request;
iv. the age, gender, and race of the suspect;
v. the accompanying NOPD item numbers;
vi. whether the use of facial recognition technology resulted in a match; and
vii. whether the use of facial recognition technology resulted in an arrest and/or

charges.

CLASSIFICATION / SECURITY OF FACIAL RECOGNITION SYSTEMS
Case 1:23-mi-99999-UNA Document 2907-5 Filed 09/08/23 Page 7 of 8
CHAPTER: 51.1.1 Page 7 of 8

38. All requests and results will be “access level classified” to protect sources,
investigations, and individual's rights to privacy and to provide a structure that will enable
this department to control access to sensitive information.

39. These access level classifications shall be reevaluated whenever new information is
added to an existing file or request for facial recognition system use.

(a) Restricted—Files, requests or results that contain information that could
adversely affect an ongoing investigation, create safety hazards for officers,
informants, or others and/or compromise their identities. Restricted intelligence
may only be released by approval of the Intelligence Unit commander,
Investigation Support Division of ISB Captain, ISB Deputy Chief or
Superintendent of Police and only to authorized law enforcement members or
agencies with a need and a right to know. Restrictions on the release and
sharing of information in any multi-agency operation shall be governed by the
Memorandum of Understanding or Cooperative Endeavor Agreement in place at
the time.

(b) Confidential—Files, requests or results that are less sensitive than restricted
intelligence. It may be released to department personnel when a need and a right
to know have been established by the Investigation Support Division of ISB
Captain or his/her designee.

(c) Unclassified—Files, requests or results that contain information from the news
media, public records, and other sources of a topical nature. Access is limited to
officers conducting authorized investigations that necessitate this information.

40. All restricted and confidential files shall be secured both physically and electronically,
and access to all intelligence information shall be controlled and recorded by procedures

established by the Specialized Investigations Division.

41. All files regarding facial recognition system requests shall be maintained in accordance
with state and federal law.

42. All files regarding s facial recognition system requests released under freedom of
information provisions or through disclosure shall be carefully reviewed and redacted as

legal and appropriate.

AUDITING / PURGING FILES

43. The use of facial recognition systems and search requests shall be audited by the
PSAB. Users will be required to provide appropriate justification for the use or request of
facial recognition searches. PSAB shall have access to all documentation relating to

facial recognition requests.

44, Appropriate justification will include the reason for the facial recognition system search,
an NOPD Incident / Investigative Report and offense type. For searches conducted on
behalf of another individual, the name and job title of the individual who requested the

search will also be required.

45. The Captain of the division/district is responsible for ensuring that criminal intelligence
files housed within that division/district are maintained in accordance with the law and
the provisions of this Chapter and include information that is both timely and relevant.

46. All facial recognition system request files shall be audited and purged on an annual
basis as established by the ISB Deputy Chief. Data utilized by MAX, or for ongoing
investigations, shall be retained until it is anonymized, the investigation is concluded
and/or any related judicial proceedings are final.
Case 1:23-mi-99999-UNA Document 2907-5 Filed 09/08/23 Page 8 of 8
CHAPTER: 51.1.1 Page 8 of 8

47. When a facial recognition system request file has no further information value and/or
meets the legal criteria, it shall be destroyed in accordance with public records law.

48. A record of the purging of facial recognition system request files shall be maintained by
the Investigation Support Division — Intelligence Unit of ISB for a minimum of seven (7)

years after the purge.
